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      LAW OFFICES OF DAVID A KAUFMAN, APC
    1 David A Kaufman SBN 284488
      3162 Via Alicante Unit E
    2 La Jolla, CA 92037
      Tel. (619) 865-8648
    3 Email: attorney@lawofficesofdavidkaufman.com
      Attorney for Plaintiff
    4 CAROLINE WICHMAN
    5                        UNITED STATES DISTRICT COURT
    6                       CENTRAL DISTRICT OF CALIFORNIA
    7    CAROLINE WICHMAN,                         Case No.: 2:22-cv-03156
         individually and as successor in          Complaint Filed: 05/09/22
    8    interest to Edward Zamora Giron II,       Judge: Hon. Dolly M. Gee
         deceased,
    9                                              MEMORANDUM OF POINTS AND
                            Plaintiffs,            AUTHORITIES IN SUPPORT OF
   10                                              MOTION TO WITHDRAW AS
         v.                                        COUNSEL
   11
         CITY OF SAN LUIS OBISPO, a                Pursuant to Local Rule L.R. 83-2.3.2
   12    municipal entity; COUNTY OF
         SAN LUIS OBISPO, a municipal              Hearing Details
   13    entity; BRYAN AMOROSO, an                 Friday, October 28, 2022
         individual; STEVE OROZCO, an              9:30 am
   14    individual; IAN PARKINSON, an
         individual; RICK SCOTT; and               United States Courthouse
   15    DOES 1-25, inclusive,                     350 West 1st Street
                                                   Los Angeles, CA, 90012
   16                       Defendants.            Courtroom 8C, 8th Floor
   17                                              https://www.cacd.uscourts.gov/honorable-
                                                   dolly-m-gee
   18
   19
                     MEMORANDUM OF POINTS AND AUTHORITIES
   20
              I.     INTRODUCTION
   21
              Counsel for Plaintiff seeks to bring this motion for leave of Court to withdraw
   22
        from representing Plaintiff in this matter due to circumstances that make withdrawal
   23
        mandatory under California Rules of Professional Conduct. When it became
   24
        apparent that the Plaintiff did not want to follow the advice of counsel with respect
   25
        to handling the case and litigation, the undersigned attempted to substitute out of the
   26
        case, but to no avail, as the Plaintiff would not sign the form substitution/withdrawal
   27
   28         MEMORAMDUM OF POINTS AND AUTHORITIES IN SUPPORT
                   OF MOTION TO BE RELIEVED AS COUNSEL
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    1 of counsel, making the instant motion seeking relief necessary. Counsel has sought
    2 to take all reasonable steps to protect Client’s interests against prejudice to the
    3 extent that this is possible in the context of an attorney-client relationship where
    4 counsel’s advice and recommendations based on what is now known no longer gain
    5 purchase and do not inform and guide the strategy and decision making for
    6 managing the case.
    7         II.    FACTUAL BACKGROUND
    8         On or about April 5, 2022, the counsel, the undersigned, was retained to
    9 represent Plaintiff, CAROLINE WICHMAN, with respect to certain claims against
   10 the CITY OF SAN LUIS OBISPO and COUNTY OF SAN LUIS OBISPO, arising
   11 from an incident that occurred on or about May 10, 2021, that resulted in the death
   12 of a CITY of SAN LUIS OBISPO police officer and the plaintiff’s son. The CITY
   13 and COUNTY had not released any of the investigative reports or a critical incident
   14 video of the event and there was speculation that there was more to the story than
   15 the narrative that was released in the media immediately following, as the
   16 information supporting the narrative was provided exclusively by law enforcement.
   17 On or about November 9, 2021, a tort claim, pursuant to Gov’t Code §910, et. seq.,
   18 previously presented to the COUNTY was denied, giving the Plaintiff until May 9 th
   19 to file suit to preserve any claims arising under California law. See Attorney Dec ¶
   20 2.
   21         Plaintiff filed suit on or about May 9th, initiating the instant case (Doc #1).
   22 On or about July 23, 2022, Plaintiff would amend the complaint, filing a First
   23 Amended Complaint (Doc #11) and add additional factual pleading and individual
   24 defendants. The defendants were served in or around August 3rd or 4th, before the
   25 running of the mandatory ninety (90) days for service of the defendants. See
   26 Attorney Dec ¶ 3.
   27
   28                                 -2-
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    1         Beginning in or around August 4th and continuing through August 8th,
    2 Counsel for the defendants met and conferred with Plaintiff’s counsel as a prelude to
    3 filing FRCP 12(b)(6) motions to dismiss. During the meet and confer, defense
    4 counsel, who had seen the body cam video of the incident described what the video
    5 showed with respect to the underlying incident and also suggested that perhaps the
    6 parties might consider stipulating to an extension of the responsive pleading
    7 deadline to allow Plaintiff’s counsel an opportunity to review the body cam footage
    8 and investigative files and reassess Plaintiff’s decision with respect to the merits of
    9 the underlying case. See Attorney Dec ¶ 4.
   10         On or about August 15th the Parties entered into and filed a stipulation to
   11 extend the responsive pleading deadline (Doc # 40). Also on August 15, 2022, the
   12 Parties entered into and filed a stipulated protective order (Doc # 41), allowing the
   13 parties to exchange informal discovery to assist in an informed evaluation of the
   14 case. See Attorney Dec ¶ 5.
   15         In or around August 28th the COUNTY shared an autopsy report of the
   16 decedent, Mr. Giron. The parties continued to meet and confer view phone and
   17 email regarding access to the bodycam video footage and incident investigation
   18 report. The COUNTY and CITY were not comfortable providing the materials
   19 electronically because of the impossibility of controlling who might have access or
   20 be able to see the materials. It was proposed that Plaintiff’s counsel travel to defense
   21 counsel’s office to view the investigative files and video. Plans were eventually
   22 reached for Plaintiff’s counsel to travel from San Diego to sit with defense counsel
   23 in San Luis Obispo in order to have a chance to view the incident video and review
   24 the investigative files. See Attorney Dec ¶ 6.
   25         On or about September 9th Plaintiff’s counsel travelled to San Luis Obispo to
   26 meet with defense counsel to review the investigative files and video of the incident.
   27 See Attorney Dec ¶ 7.
   28                                 -3-
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    1          After having a chance to review the files and video of the incident counsel
    2 discussed the evidence with Plaintiff, what specifically it portended for the case, and
    3 advised on a sensible course of action with respect to the litigation. See Attorney
    4 Dec ¶ 8.
    5          III.   ARGUMENT
    6          Central District Local Rule L.R. 83-2.3.2 Motion for Withdrawal, states that
    7 “an attorney may not withdraw as counsel except by leave of court. A motion for
    8 leave to withdraw must be made upon written notice given reasonably in advance to
    9 the client and to all other parties who have appeared in the action. The motion for
   10 leave to withdraw must be supported by good cause. Failure of the client to pay
   11 agreed compensation is not necessarily sufficient to establish good cause.”
   12 Attorneys may not withdraw from representation until they have taken “reasonable
   13 steps to avoid reasonably foreseeable prejudice to the rights of the client.” L.R. 83-
   14 2.3.2.
   15          Here the undersigned has attempted to bring a proper motion to withdraw,
   16 with the requisite written notice provided to the client and opposing counsel, and the
   17 showing of good cause for seeking leave to withdraw. Counsel has also been
   18 cognizant of the duty to safeguard the Client’s interests and not do prejudice to the
   19 Client while also steadfastly observing ethical rules.
   20          CRPC 1.16(d) (eff. 11/1/18) (formerly CRPC 3-700(A)(2) states that
   21 attorneys are bound to preserve client confidences even when seeking to be relieved
   22 as counsel. See CRC 3.1362(c)—attorney’s declaration in support of withdrawal
   23 motion cannot compromise attorney-client confidentiality. CRPC 1.16(d) (formerly
   24 CRPC 3-700(A))—attorney withdrawal must not prejudice client. Counsel has
   25 sought to be circumspect and observe and abide by the duty to safeguard client
   26 confidences while making the good cause showing for seeking to withdraw.
   27          Mandatory Withdrawal
   28                                 -4-
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    1         An attorney must withdraw from representation where the attorney “knows or
    2 reasonably should know that the client is bringing an action, conducting a defense,
    3 asserting a position in litigation, or taking an appeal, without probable cause and for
    4 the purpose of harassing or maliciously injuring any person.” CRPC 1.16(a)(1)
    5 (eff. 11/1/18) (formerly CRPC 3-700(B)(1)); Cal. State Bar Form.Opn. 2015-
    6 192(decided under former rule); and see CRPC 3.1(a)(1) (eff. 11/1/18) (formerly
    7 CRPC 3-200(A) Withdrawal is also mandatory where the attorney “knows or
    8 reasonably should know that the representation will result in violation of these rules
    9 [CRPC] or the State Bar Act.” CRPC 1.16(a)(2) (eff.11/1/18) (formerly CRPC 3-
   10 700(B)(2)) (emphasis added); see also ABA Model Rule 1.16(a)(1); Rest.3d Law
   11 Governing Lawyers § 32(2)(a). Withdrawal is mandatory only where continued
   12 employment “will result” in ethical violations (i.e., where it is reasonably clear
   13 that the rules will be violated). Withdrawal is permissive, not mandatory, where
   14 such violations are merely “likely” (CRPC 1.16(b)(9) (eff. 11/1/18) (formerly
   15 CRPC 3-700(C)(2)). See Cal. State Bar Form.Opn. 2021-206, p.8, fn. 13 (citing
   16 text). This is an instance in which continued representation would risk violation of
   17 CRPC 1.16.
   18         Where Attorney concludes during discovery that Client’s case lacks merit
   19 because the evidence does not support the claims asserted, withdrawal is required
   20 under CRPC 1.16(a)(1) since Attorney’s continued employment will violate
   21 Bus. &Prof.C. § 6068(c) (duty to maintain only actions as appear “legal or just”)
   22 and CRPC 3.1(a)(2) (eff. 11/1/18) (ban on pursuing claim that is not warranted
   23 under existing law). Cal. State Bar Form. Opn. 2019-198. Following the
   24 opportunity to view video and investigative files and what this yielded insofar as
   25 insights into the underlying merits of the claims, in light of the Client’s refusal to
   26 abide by counsel’s advice, counsel was faced with the untenable situation of
   27 violating Bus. &Prof.C. § 6068(c).
   28                                 -5-
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    1         Despite this duty to withdraw, the lawyer may ethically attempt to settle the
    2 case as a way to avoid foreseeable prejudice to the client—so long as the lawyer
    3 does not make any false statements. Cal. State Bar Form.Opn. 2019-198. Counsel
    4 attempted to explore the possibility of resolution but to no avail, as the client would
    5 not grant authority for seeking resolution.
    6         The attorney may withdraw from representation where the client “insists upon
    7 presenting a claim or defense in litigation, or asserting a position or making a
    8 demand in a non-litigation matter, that is not warranted under existing law
    9 and cannot be supported by good faith argument for an extension, modification, or
   10 reversal of existing law.” CRPC1.16(b)(1) (eff. 11/1/18) (formerly CRPC 3-
   11 700(C)(1)(a)) (emphasis added); see also Bus. & Prof.C. § 6068(c) (attorney’s duty
   12 to counselor maintain only “just” actions); and see CRPC 3.1 (eff. 11/1/18)
   13 (formerly CRPC 3-200(B)) (meritorious claims/contentions); ABA Model Rule 3.1.
   14 Following a viewing of the evidence available to the other side it appears that
   15 counsel would be put in a situation where violating CRPC1.16(b)(1) and Bus. &
   16 Prof.C. § 6068(c) would be unavoidable.
   17         Former CRPC 3-700(C)(1)(e) permitted an attorney to withdraw where, in a
   18 matter not pending before a tribunal, the client insisted that the attorney engage in
   19 conduct contrary to the lawyer’s own judgment and advice, even where such
   20 conduct was not prohibited under the CRPC or the State Bar Act. (For example,
   21 Client wants Attorney to send a letter to a third party making demands or claims the
   22 Attorney deems frivolous.) Former CRPC 3-700(C)(1)(e). The current CRPC (eff.
   23 11/1/18) do not include this provision, apparently because CRPC 2.1 (eff.11/1/18)
   24 mandates that “a lawyer shall exercise independent professional judgment” in
   25 representing a client. In exercise of independent judgment counsel deems it
   26 essential to seek withdrawal under circumstances where the Client does not abide by
   27 the advice of counsel and will not sign the substitution of counsel.
   28                                 -6-
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    1         An argument could be made that an attorney may properly withdraw where
    2 the client insists the attorney engage in conduct contrary to the lawyer’s own
    3 judgment under CRPC 2.1, which specifies that a lawyer must exercise independent
    4 professional judgment in representing a client, or under CRPC1.16(b)(4)
    5 (eff. 11/1/18), which permits withdrawal where the client’s conduct makes it
    6 “unreasonably difficult” to effectively continue the representation. These are the
    7 very circumstances in which counsel finds himself.
    8         Where court rules or the rules of a tribunal require the attorney to obtain
    9 permission to withdraw, the attorney may not withdraw from a proceeding until
   10 such permission is obtained. CRPC 1.16(c) (eff.11/1/18) (formerly CRPC 3-
   11 700(A)(1)); see also CRPC 1.0.1(m) (defining “tribunal”); ABA Model Rule
   12 1.16(c), 1.0(m); and Rest.3dLaw Governing Lawyers § 32(5)—“lawyer must
   13 comply with applicable law requiring notice to or permission of a tribunal.”
   14 Counsel is seeking leave from the Court to withdraw from the instant matter.
   15         Avoiding Reasonably Foreseeable Prejudice to Client
   16         Before withdrawing, the attorney must take “reasonable steps” to avoid
   17 “reasonably foreseeable prejudice” to the client’s rights (CRPC1.16(d) (formerly
   18 CRPC 3-700(A)(2)). Such steps include giving the client “sufficient notice,”
   19 allowing time for employment of other counsel, returning the client's “materials and
   20 property,” and refunding advance fees or expenses not earned or incurred. CRPC
   21 1.16(d) (formerly CRPC 3-700(A)(2)), CRPC 1.16(e) (eff. 11/1/18) (formerly CRPC
   22 3-700(D)),; see Lister v. State Bar (1990) 51 C3d1117, 1126, 275 CR 802, 807
   23 (decided under former rule). Counsel has sought to respect and abide by the Rules
   24 of Professional Conduct that relate to protecting the interests of the client from
   25 reasonably foreseeable prejudice.
   26
   27
   28                                 -7-
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    1         The following steps are recommended in withdrawing from representation
    2 (Rutter Guide Cal. Prac. Guide Prof. Resp. Ch. 10-B Termination of Employment
    3 and Withdrawal):
    4         • Withdrawal should be by written notice to the client, preferably sent by
    5 regular mail with post office proof of mailing and certified or registered mail with
    6 return receipt requested. Alternatively, some combination of U.S. Mail, email with
    7 delivery confirmation, fax, certified mail and hand-delivery by courier also should
    8 suffice. Here notice was provided via email to the Plaintiff and Plaintiff’s daughter,
    9 who Plaintiff asked to be included in correspondence.
   10         • The notice should include a warning of the need for prompt action,
   11 including any statute of limitation dates or other deadlines that may be approaching.
   12 Counsel advised the Client that per the terms of the stipulation to extend the
   13 responsive pleading deadline that Defendants have to file a responsive pleading on
   14 or before October 24th, that this will likely be a motion to dismiss, and that Plaintiff
   15 will have to file an opposition and possibly prepare a draft proposed amended
   16 pleading to cure any deficiencies.
   17         • The notice should state that the client’s file is available for the client or
   18 successor counsel. Counsel has already provided the client file to the Client via
   19 Dropbox.
   20         • And, the notice should be accompanied by a check refunding any unearned
   21 advanced fees and advanced expenses not incurred, along with an accounting for
   22 fees previously earned and paid and expenses previously incurred and paid. No
   23 advance fees or costs were paid. (Rutter Guide Cal. Prac. Guide Prof. Resp. Ch. 10-
   24 B Termination of Employment and Withdrawal).
   25         Conclusion
   26         Pursuant to the foregoing, good cause being shown, Counsel seeks leave of
   27 Court to withdraw from representing Plaintiff any further in this matter.
   28                                 -8-
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    1 ///
    2 ////
             Dated:   September 29, 2022_
    3
                                            By:
    4                                             David Kaufman
                                                  Attorney for Plaintiff
    5                                             CAROLINE WICHMAN
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